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1                                                              Judge Martinez
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7
                                UNITED STATES DISTRICT COURT
8                              WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
9
     UNITED STATES OF AMERICA,        )
10                                    )                 NO.    CR06-149RSM
                      Plaintiff,      )
11                                    )
                v.                    )                 ORDER DENYING
12                                    )                 DEFENDANT’S MOTION TO
     TERRY T. RAYMOND,                )                 AMEND JUDGMENT AND
13                                    )                 SENTENCE
                      Defendant.      )
14                                    )
     _________________________________)
15

16           This matter comes upon Defendant’s “Motion to Amend Judgment and Sentence,”
17   filed on March 4, 2008. Having reviewed Defendant’s motion, and the United States’
18   response in opposition, the sentencing transcript, and all other information available in
19   the record, the Court makes the following findings:
20           1.      The modification to the Judgment and Sentence requested by Defendant is
21   not a correction of a clerical error, as authorized by Federal Rule of Criminal
22   Procedure 36.
23           2.      The modification is not requested within seven days of oral pronouncement
24   of Judgment, as required by Federal Rule of Criminal Procedure 35(c).
25           3.      There is no other federal rule of procedure conferring jurisdiction upon the
26   Court to amend the judgment as requested.
27   ORDER DENYING DEFENDANT RAYMOND’S
     MOTION TO AMEND JUDGMENT AND SENTENCE - 1
28   U.S. v. Terry T. Raymond, CR06-149RSM
            Case 2:06-cr-00149-RSM           Document 340    Filed 03/19/08    Page 2 of 2



1            4.       Therefore, this Court does not possess jurisdiction to modify the sentence
2    as requested.
3            5.      After exhaustion of all available administrative remedies, Defendant
4    properly may raise these issues in the form of a habeas petition pursuant to Title 28,
5    United States Code, Section 2241, to be filed in the District where he is incarcerated.
6

7            WHEREFORE, THE COURT HEREBY ORDERS that Defendant’s Motion to
8    Amend Judgment is denied.
9

10           Dated this _19_ day of _March_, 2008.
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14
                                                       A
                                                       RICARDO S. MARTINEZ
                                                       UNITED STATES DISTRICT JUDGE
15

16   Presented by:
17

18   s/ Sarah Y. Vogel
     SARAH Y. VOGEL
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27   ORDER DENYING DEFENDANT RAYMOND’S
     MOTION TO AMEND JUDGMENT AND SENTENCE - 2
28   U.S. v. Terry T. Raymond, CR06-149RSM
